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New Avenues

Midwest Behavioral Health Network » P.O. Box 360, South Bend, IN 46624 - Phone: (866) 925 - 5730 - Fax: (574) 271 — 5980
GUIDELINES TO USE OF AXIS V: Global Assessment Functioning Scale

The DSM-IV describes the use of the GAF Score in the following way:

“Axis V is for reporting the clinician’s judgment of the individual’s overall level of functioning. This
information is useful in planning treatment and measuring its impact, and in predicting outcome.

The reporting of overall functioning on Axis V is done using the Global Assessment of Functioning (GAF)

Scale. The GAF scale may be particularly useful in tracking the clinical progress of individuals in global

terms, using a single measure. The GAF Scale is to be rated with respect only.to psychological, social,
and occupational functioning. The instructions specify, “Do not include impairment in functioning due to

physical (or environmental) limitations.” In most instances, ratings on the GAF Scale should be for the

current period (i.¢., the level of functioning at the time of the evaluation) because the ratings of current

functioning will generally reflect the need for treatment or care. In some settings, it may be useful to note

the GAF Scale rating both at time of admission and at time of discharge.” See reverse side for scale.

Listed below are “suggested quidelines” for using the GAF Score as part of an Initial Clinical Assessment for a managed care

setting:

MICHELE A. PACKARD, PH.D., is a clinical psychologist who presents training workshops on the DSM-IV for the American
Counseling Association. Based upon her experience with managed care companies, Dr. Packard suggests the following
regarding “Medical Necessity” (Acuity) and “Intensity of Service” (Level of Care):

L| GAF Score 1-30 This patient is a candidate for inpatient care

(] GAF Score 31 - 69 This patient is a candidate for outpatient care - either PHP, [OP or traditional outpatient
counseling.

C GAF Score 70 - > In most cases, medical necessity is not indicated because the patient is functioning too well

to be a candidate for therapy.

MICHAEL B. FIRST M.D is a Columbia University-trained psychiatrist and was the DSM-IV's Editor for Text and Criteria. In
his training workshop entitled “Managed Care Survival Skills: A Structured Approach for Assessment and Treatment of DSM-
IV Disorders”, Dr. First offered the following recommendations with regard to using the GAF score with managed care
organizations:

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Intensity of Service:
C GAF Score > than 65: In most cases, there is no need for treatment unless to prevent relapse of a severe condition.
(. GAF Score > than 40: In most cases, there is no need for Inpatient Treatment.

Using the GAF Scale’s 10 point range:

[ Scores § and above suggest the symptomatology and level of functioning is nearer to the next highest range on the
scale.

{ Scores 4 or below suggest the symptomatology and level of functioning is nearer to the next lowest range on the
scale.

Identifying a GAF Score: Four Steps to obtaining a GAF Rating:

C Step 1: Starting at the top level of the scale, ask yourself“... is EITHER the client's symptom severity OR the client’s
level of functioning worse than what is indicated in the range?”

f Step 2: Move down the scale until you find a range which matches the client's symptom severity OR the level of
functioning WHICHEVER IS THE WORST.

[ Step 3: Double check your selection of a range by using the following: The range immediately BELOW the one you
have chosen should have examples which are too severe on BOTH symptom severity AND level of
functioning. If not BOTH -- keep moving down the scale.

(i Step 4: Determine the specific number within range selected (refer to “Using the GAF Scale’s 10 point range’).

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EXHIBIT

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Global Assessment of Functioning (GAF) Scale

CODE NOTE

100-91 | Superior functioning in a wide range of activities, life’s problems never seem
to get out of hand, is sought out by others because of his or her many positive
qualities. No symptoms.

90-81 | Absent or minimal symptoms, good functioning in all areas, interested and
involved in a wide range of activities, socially effective, generally satisfied with
life, no more than everyday problems or concerns.

80-71 | If symptoms are present they are transient and expectable reactions to
psychosocial stressors; no more than slight impairment in social,
occupational, or school functioning.

70-61 | Some mild symptoms OR some difficulty in social, occupational, or school
functioning, but generally functioning pretty well, has some meaningful
interpersonal relationships.

60-51 | Moderate symptoms OR moderate difficulty in social, occupational, or school
functioning in social, occupational, or school functioning.

50-41 | Serious symptoms OR any serious impairment in social, occupational, or
school functioning.

40-31 | Some impairment in reality testing or communication OR major impairment in
several areas, such as work or school, family relations, judgment, thinking, or
mood.

30-21 | Behavior is considerably influenced by delusions or hallucinations OR serious
impairment in communication or judgment OR inability to function in almost all
areas.

20-11 | Some danger of hurting self or others OR occasionally fails to maintain
minimal person hygiene OR gross impairment in communication.

10-01 | Persistent danger of severely hurting self or others OR persistent inability to
maintain minimal personal hygiene OR serious suicidal act with clear
expectation of death.

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